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                          IN THE UNI'fED STATES DISTzuCT COURT
                          FOR TTIE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION
,I'LIOMAS
            IIANSI]N.                                 )
                                                      )
                        Plaintiff.                    )
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                                                      )
                                                      )
I,JNITED STATES OIT AMI]RICA.                         )
                                                      )
                        I)cl'endant.                  )     Civil Action No.        3 :2 I   -CV- I 003-C-BN

                                                ORDER

       Before the Court are the Findings, Conclusions, and Recommendation of the United

States Magistrate Judge therein advising that this        civil action should be dismissed without

prejudice under Federal Rules of Civil Procedure 4(m) and 4l(b).1

       The Court has reviewed the Findings, Conclusions, and Recommendation for clear error

and finds none. It is therefore ORDERED that the Findings, Conclusions. and Recommendation

are hereby ADOPTED as the findings and conclusions of the Court. For the reasons stated

therein, the Court ORDERS that this civil action be DISMISSED without prejudice.

        SO ORDERED.

        Dated october I    i   ,2021 .


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       rPlaintifThas lailed to file objections to the United States Magistrate Judge's Findings,
Conclusions, and Recontmendation and the titne to do so has now expired.
